Case 1:17-cv-03039-RLY-DML Document 9 Filed 12/28/17 Page 1 of 1 PageID #: 31




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

India Latimore,                           )
                                          )
              Plaintiff,                  )
                                          )
      vs.                                 ) Case No.:1:17-cv-3039-RLY-DML
                                          )
Fox Collection Center, d/b/a Professional )
Recovery Management, Inc.,                )
                                          )
              Defendant.                  )
____________________________________)_________________________________________

                        ORDER OF DISMISSAL WITH PREJUDICE

         Pursuant to Plaintiff’s Motion to Dismiss with Prejudice filed by the Plaintiff in this

cause, this cause is hereby dismissed with prejudice, and each party shall bear its own respective

costs and expenses, including but not limited to attorneys’ fees, incurred in connection with this

cause.




 12/28/2017
_____________                                       _______________________________
Date                                                Judge
                                                    United States District Court
                                                    Southern District of Indiana


ECF notification:

Copies to electronically registered counsel of record.
